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CONFIDENTIAL
Second Written Warning
TO: Susan Trainor, Staff Assistant
FROM: Karen Cordio, Program Manager
DATE: March 8, 2011

RE: Tardiness

| had spoken to you on Friday March 4, 2011 as well as sent you a message through the HBSS Chat
informing you that any time you will not be to work or will be arriving late you must contact me and you
also must state if you will be using your FMLA or not. Yesterday you did not arrive to work until 8:15am
and failed to contact me. As noted in MART’s Personal Policy “Employees are expected to telephone a

Supervisor each day or partial day they are out sick prior to their scheduled report time. Failure to notify
the office may result in denial of leave benefits or disciplinary action by the Supervisor or Administrator.”

This memo will serves as your second written warning and will be part of your personnel file.

C: Donna Landry, Human Resource/Chief Operation Officer
Cheryl Montuori, Program Director
